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ELECTION OF RIGHTS FORM FOR HOUSING DISCRIMINATION COMPLAINTS _

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Please complete the information below, checking only one response, and return to the Florida Commission on Human
Relations, 4075 Esplanade Way, Suite 110, Tallahassee, FL 32399.

[| 1. I elect to have the Commission file a petition with the Division of Administrative Hearings for an
administrative hearing and seek relief on my behalf.
The Commission will petition for an administrative hearing and seek relief for the complainant under
section 120.57, F.S., and prosecute the matter to a final agency order, which may include defending
against an appeal by the respondent. This election must be made within 30 days after receipt of the notice
of determination. Administrative hearings shall be conducted pursuant to sections 120.569 and 120.57(1),
F.S. If the administrative law judge finds that a discriminatory housing practice has occurred or is about
to occur, he or she shall issue a recommended order to the Commission prohibiting the practice and
recommending affirmative relief from the effects of the practice, including quantifiable damages and
reasonable attommey’s fees and costs. Under the Florida Fair Housing Act, if you prevail in an
administrative hearing, your quantifiable damages will be limited to those that are “quantifiable.” The
Florida Supreme Court has ruled that “quantifiable” damages do not include damages for “pain and
suffering,” including emotional distress. Such damages may only be awarded by a Court under option 2.
The Commission may adopt, reject, or modify a recommended order only as provided under section
120.57(1). See sections 760.35 (3)(a) - (b), F.S., and Rule 60Y-7.001(8)(b)7., F.A.C.

I elect to exercise my right to seek administrative or judicial relief without governmental assistance,
and, therefore, I am withdrawing my complaint from the Commission.
At all times, the complainant retains the right to seek administrative or judicial relief without
governmental assistance. A petition for administrative relief must be filed within 30 days after receipt of
the notice of determination, and a civil action must be commenced no later than two (2) years after the
alleged discriminatory practice occurred. See sections 760.35 (1) and (3)(a)2., F.S., and Rule 60Y-7.001
(8)(b)8., F.A.C.

PLEASE CHECK ONE OF THE ABOVE, SIGN AND DATE

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Complainant’s Signatt re/ Date

